Case 1:05-cv-01081-.]DT-STA Document 5 Filed 05/10/05 Page 1 of 3 Page|D 1

IN THE UNITED sTATEs DISTRICT CoURT /?@ P
FoR THE wEsTERN DISTRICT oF TENNESSEE 03 di Q/
EAsTERN Dl\/IsloN x 410 / f 49
/'):>01 "‘
L1/.<> \’5‘ ~`»1% 'L/,
LEANN DUNKLE, ) /f>g»f’<”>;,;> 49¢53. '
) jeff .&Q“/,z> ’l-’
Plainriff, ) ’@,;,)O<@}OJ@
) 45;’3;/€'\
Vs. ) No. 05-1031-T
)
COMMISSIONER OF )
SOCIAL SECURI'I`Y, )
)
Defendant. )

ORDER REGARDING BRIEFING SCHEDULE
This is an action for review of a decision of the Comrnissioner of Social Security
denying Plaintiff‘s application for benefits under the Social Security Act.
The following briefing schedule is hereby established in this matter:

Plaintiff‘s brief in support of this appeal must be filed within 30 days of the
date Of this order.

Def`endant's brief in opposition to this appeal must be filed within 30 days after
service of Plaintif`f‘s brief.

If Plaintiff wishes to file a reply brief, such brief must be filed within 10 days after
service of Defendant's brief.

Failure of either party to comply with this order will result in appropriate sanctions,
Which may include consideration of the case without regard to that party's brief, or dismissal

of the action.

mmmm\lnm h
mmum_n@mm \

Case 1:05-cv-01081-.]DT-STA Document 5 Filed 05/10/05 Page 2 of 3 Page|D 2

Oral argument will be heard in this matter only if requested by the parties and deemed

necessary by the court.

IT IS SO ORDERED.

WAQHM

S D. TODD
TED STATES DISTRICT JUDGE

‘/`/”l/L@;wvs

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01081 Was distributed by faX, mail, or direct printing on
May l 1, 2005 to the parties listed.

ESSEE

 

A. Russell Larson

LAW OFFICES OF A. RUSSELL LARSON
P.O. Box 2 l 63

.lacl<son7 TN 3 8302--2 l 6

.loe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

.loe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

A. Russell Larson

LAW OFFICES OF A. RUSSELL LARSON
P.O. Box 2 l 63

.lacl<son7 TN 3 8302--2 l 6

Honorable .l ames Todd
US DISTRICT COURT

